    Case: 1:23-cv-02233 Document #: 37 Filed: 09/19/23 Page 1 of 2 PageID #:852




                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

RACHEL BARTZ,

                     Plaintiff,
                                                       Case No. 1:23-cv-02233
                      v.
                                                       Judge Franklin U. Valderrama
CHICAGO POLICE OFFICER MARCUS
MUDD (#14390), SUPERINTENDENT                          Magistrate Judge Jeffrey T. Gilbert
DAVID BROWN, and CITY OF CHICAGO,

                     Defendants.

                                            ORDER

       This matter is before the Court on Defendants’ Opposed Joint Motion to Strike Certain

Paragraphs from Plaintiff’s Amended Complaint (the “Motion to Strike”), filed by the City of

Chicago, former Superintendent David Brown, and Chicago Police Officer Marcus Mudd

(collectively, Defendants”). For good cause shown, the Court ORDERS as follows:

       1) Defendants’ Motion to Strike [R. 23] is DENIED as moot;

       2) By September 26, 2023, Defendants City and Mudd shall answer the following

          Paragraphs from Plaintiff Bartz’s Amended Complaint:

              (a) 1–24,

              (b) 26–38,

              (c) 39–62 only as they relate to Plaintiff Bartz,

              (d) 63, and

              (e) 87–185;

       3) Defendants are excused from answering Paragraphs 25 and 64–86;
Case: 1:23-cv-02233 Document #: 37 Filed: 09/19/23 Page 2 of 2 PageID #:853




  4) Defendant Brown shall answer the Amended Complaint, consistent with Paragraphs 2

     and 3 above, by October 10, 2023.

  5) Plaintiff shall file any Response to Defendant City of Chicago and Superintendent

     Brown’s Partial Motion to Dismiss by October 10, 2023; and

  6) Defendant City of Chicago and Superintendent Brown shall file any Reply in support

     of their Partial Motion to Dismiss by October 31, 2023.

  IT IS SO ORDERED.




                                                Dated: September 19, 2023


                                                ENTERED:



                                                Honorable Franklin U. Valderrama
                                                United States District Judge




                                         2
